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                                     UNITED STATES DISTRICT COURT ~l~
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                                   CENTRAL DISTRICT OF CALIFORNIA                 '- ~~

                                                            CASE NUMBER:
UNITED STATES OF AMERICA
                                                PLAINTIFF               CR 20-612(A)-ODW
            v.
                                                                        WAIVER OF INDICTMENT
MARK HANDEL
                                              DEFENDANT

     I,                              MARK HANDEL                                          the above-named defendant,
who is accused of            False Statement in Bankruptcy and Subscribing to False Tax Return             ,in
violation of                     18 U.S.C. 4 152(3) and 26 U.S.C. § 7206(1), respectively                   ,being
advised of the nature of the charge, the proposed information, and of my rights, hereby waive in open court on
                                         prosecution by indictment and consent that the proceedings maybe by
information rather than by indictment.

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Date

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Date                                                        Before: Judie`    fficer
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Ifthe defendant does not speak English, complete the following:

I,                                              am fluent in written and spoken English and
languages. I accurately translated this Waiver ofIndictment from English to
for defendant                                           on this date.



Date                                                                Interpreter




CR-57(06/14)                                      WAIVER OF INDICTMENT
